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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                :    CHAPTER 13
                                                      :
SHEENA BLACKWELL YOUNG                                :    CASE NO. 19-67578-PWB
AKA SHEENA YOUNG                                      :
AKA SHEENA NICOLE BLACKWELL                           :
AKA SHEENA BLACKWELL                                  :
AKA SHEENA N BLACKWELL                                :
AKA SHEENA B YOUNG,                                   :
                                                      :
         Debtor.                                      :
                                                      :
TRUIST BANK, SUCCESSOR BY MERGER                      :    CONTESTED MATTER
TO SUNTRUST BANK,                                     :
                                                      :
         Movant.                                      :
                                                      :
vs.
                                                      :
SHEENA BLACKWELL YOUNG
AKA SHEENA YOUNG                                      :
AKA SHEENA NICOLE BLACKWELL                           :
AKA SHEENA BLACKWELL                                  :
AKA SHEENA N BLACKWELL                                :
AKA SHEENA B YOUNG,                                   :
MARY IDA TOWNSON, Trustee                             :
                                                      :
         Respondents.

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         April 1, 2020 at 1:30pm at the United States Bankruptcy Court, 75 Ted Turner
         Drive S.W., Courtroom 1401, Atlanta, Georgia 30303.
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      If you or your attorney does not take these steps, the court may decide that you do not oppose the
      relief sought in the motion and may enter an order granting relief.

      You may also file a written response to the pleading with the Clerk at the address stated below,
      but you are not required to do so. If you file a written response, you must attach a certificate
      stating when, how and on whom (including addresses) you served the response. Send your
      response so that it is received by the Clerk at least two business days before the hearing.

      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
      automatic stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, 75 Ted Turner Drive S.W., Suite 1340, Atlanta,
      Georgia 30303. You must also send a copy of your response to the undersigned at the address
      stated below.


      Dated this:   3/10/2020



                                                 /s/ Heather D. Bock
                                                 Heather D. Bock, GA BAR NO. 122806
                                                 Attorney for Movant
                                                 McCalla Raymer Leibert Pierce, LLC
                                                 1544 Old Alabama Road
                                                 Roswell, Georgia 30076
                                                 678-281-6444
                                                 Heather.Bock@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                    ) CHAPTER 13
                                                          )
SHEENA BLACKWELL YOUNG                                    ) CASE NO. 19-67578-PWB
AKA SHEENA YOUNG                                          )
AKA SHEENA NICOLE BLACKWELL                               )
AKA SHEENA BLACKWELL                                      )
AKA SHEENA N BLACKWELL                                    )
AKA SHEENA B YOUNG,                                       )
                                                          )
         Debtor.                                          )
                                                          )
TRUIST BANK, SUCCESSOR BY MERGER TO                       ) CONTESTED MATTER
SUNTRUST BANK,                                            )
                                                          )
         Movant.                                          )
                                                          )
vs.                                                       )
SHEENA BLACKWELL YOUNG                                    )
AKA SHEENA YOUNG                                          )
AKA SHEENA NICOLE BLACKWELL                               )
AKA SHEENA BLACKWELL                                      )
AKA SHEENA N BLACKWELL                                    )
AKA SHEENA B YOUNG,                                       )
MARY IDA TOWNSON, Trustee                                 )

         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.
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       Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. Said real property is security for a promissory note, and is commonly known as 3304

Quick Water Landing NW, Kennesaw, Georgia 30144 (the “Property”).

                                                3.

       Debtor has defaulted in making payments which have come due since this case was filed.

As of February 14, 2020, Debtor is delinquent for three (3) payments of $1,406.98 each

(December, 2019 to February, 2020), for a total default of $4,220.94, pursuant to the terms of the

Loan Modification.

                                                4.

       As of February 14, 2020, the unpaid principal balance is $159,243.08, and interest is due

thereon in accordance with the Loan Modification.

                                                5.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                6.

       Because the Security Deed so provides, Movant is entitled to its attorney's fees.

                                                7.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and
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to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or

written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.


                                               /s/ Heather D. Bock
                                               Heather D. Bock, Georgia BAR NO. 122806
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6444
                                               678-281-6444
                                               Heather.Bock@mccalla.com
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                                            BANKRUPTCY CASE NO. 19-67578-PWB

                                            CHAPTER 13

                                 CERTIFICATE OF SERVICE

      I, Heather D. Bock, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Sheena Blackwell Young
3304 Quick Water Landing NW
Kennesaw, GA 30144

E. L. Clark                                 (served via ECF notification)
Clark & Washington, LLC
Bldg. 3
3300 Northeast Expwy.
Atlanta, GA 30341

Mary Ida Townson, Chapter 13 Trustee        (served via ECF notification)
Suite 1600
285 Peachtree Center Ave, NE
Atlanta, GA 30303

U.S. Trustee                                (served via ECF notification)
Office of U.S. Trustee
75 Spring St.
362 Richard B. Russell Bldg.
Atlanta, GA 30303


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:     3/10/2020       By:    /s/ Heather D. Bock
                     (date)             Heather D. Bock Georgia BAR NO. 122806
                                        Attorney for Movant
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                                             Post-Petition Payment Ledger

Name:                    SHEENA BLACKLoan Number:                                 Completed Date:       2/14/2020

Case No:                 19-67578          Filing Date:      11/4/2019


                            Amount          Total Amount           Suspense           Post-Petition
    Date Received           Received          Applied              Balance             Due Date                     Comments
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                                            $                 -
                                    Current Post-Petition Due Date                          12/1/2019
                                      Current Suspense Balance                    $               -

                Post-Petition Past Due Summary
Due Date        (Date Total Payment                           Total Amount
       Range)              Due                # Months             Due
12/01/2019 -02/01/2020      $1,406.98             3          $        4,220.94
                                                             $             -
                                                             $             -
                                                             $             -
                                                    Subtotal $        4,220.94
                                    Less unapplied suspense $              -
                                      Total to bring current $        4,220.94
